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  9
                                UNITED STATES DISTRICT COURT
 10                            CENTRAL DISTRICT OF CALIFORNIA
 11
 12     Shirley Lindsay,                         Case No.
 13               Plaintiff,
                                                 Complaint For Damages And
 14       v.                                     Injunctive Relief For Violations
                                                 Of: American’s With Disabilities
 15     A Power Team LLC, a California           Act; Unruh Civil Rights Act
        Limited Liability Company; and
 16     Does 1-10,
 17               Defendants.
 18
 19         Plaintiff Shirley Lindsay complains of A Power Team LLC, a California
 20   Limited Liability Company; and Does 1-10 (“Defendants”), and alleges as
 21   follows:
 22
 23
        PARTIES:
 24
        1. Plaintiff is a California resident with physical disabilities. She suffers
 25
      from arthritis (osteoarthritis of multiple joints; spinal stenosis of the lumbar
 26
      spine; and essential hypertension) of her hands, knees, and hips. She uses both
 27
      a cane and wheelchair for mobility.
 28
        2. Defendant A Power Team LLC owned the real property located at or

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  1   about 13924 Foothill Blvd., Sylmar, California, in July 2019.
  2     3. Defendant A Power Team LLC owns the real property located at or
  3   about 13924 Foothill Blvd., Sylmar, California, currently.
  4     4. Plaintiff does not know the true names of Defendants, their business
  5   capacities, their ownership connection to the property and business, or their
  6   relative responsibilities in causing the access violations herein complained of,
  7   and alleges a joint venture and common enterprise by all such Defendants.
  8   Plaintiff is informed and believes that each of the Defendants herein,
  9   including Does 1 through 10, inclusive, is responsible in some capacity for the
 10   events herein alleged, or is a necessary party for obtaining appropriate relief.
 11   Plaintiff will seek leave to amend when the true names, capacities,
 12   connections, and responsibilities of the Defendants and Does 1 through 10,
 13   inclusive, are ascertained.
 14
 15     JURISDICTION & VENUE:
 16     5. The Court has subject matter jurisdiction over the action pursuant to 28
 17   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 18   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 19     6. Pursuant to supplemental jurisdiction, an attendant and related cause
 20   of action, arising from the same nucleus of operative facts and arising out of
 21   the same transactions, is also brought under California’s Unruh Civil Rights
 22   Act, which act expressly incorporates the Americans with Disabilities Act.
 23     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 24   founded on the fact that the real property which is the subject of this action is
 25   located in this district and that Plaintiff's cause of action arose in this district.
 26
 27     FACTUAL ALLEGATIONS:
 28     8. Plaintiff went to the property to eat at KFC in July 2019 with the


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  1   intention to avail herself of its goods and to assess the business for compliance
  2   with the disability access laws.
  3     9. KFC is a facility open to the public, a place of public accommodation,
  4   and a business establishment.
  5     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
  6   to provide wheelchair accessible paths of travel leading to the KFC entrance in
  7   conformance with the ADA Standards as it relates to wheelchair users like the
  8   plaintiff.
  9     11. On information and belief, the defendants currently fail to provide
 10   wheelchair accessible paths of travel leading to KFC entrance.
 11     12. Additionally, on the date of the plaintiff’s visit, the defendants failed to
 12   provide wheelchair accessible parking in conformance with the ADA
 13   Standards as it relates to wheelchair users like the plaintiff.
 14     13. On information and belief, the defendants currently fail to provide
 15   wheelchair accessible parking.
 16     14. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 17   personally encountered these barriers.
 18     15. As a wheelchair user, the plaintiff benefits from and is entitled to use
 19   wheelchair accessible facilities. By failing to provide accessible facilities, the
 20   defendants denied the plaintiff full and equal access.
 21     16. The failure to provide accessible facilities created difficulty and
 22   discomfort for the Plaintiff.
 23     17. The defendants have failed to maintain in working and useable
 24   conditions those features required to provide ready access to persons with
 25   disabilities.
 26     18. The barriers identified above are easily removed without much
 27   difficulty or expense. They are the types of barriers identified by the
 28   Department of Justice as presumably readily achievable to remove and, in fact,


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  1   these barriers are readily achievable to remove. Moreover, there are numerous
  2   alternative accommodations that could be made to provide a greater level of
  3   access if complete removal were not achievable.
  4     19. Plaintiff will return to KFC to avail herself of its goods and to determine
  5   compliance with the disability access laws once it is represented to him that
  6   KFC and its facilities are accessible. Plaintiff is currently deterred from doing
  7   so because of her knowledge of the existing barriers and her uncertainty about
  8   the existence of yet other barriers on the site. If the barriers are not removed,
  9   the plaintiff will face unlawful and discriminatory barriers again.
 10     20. Given the obvious and blatant nature of the barriers and violations
 11   alleged herein, the plaintiff alleges, on information and belief, that there are
 12   other violations and barriers on the site that relate to her disability. Plaintiff
 13   will amend the complaint, to provide proper notice regarding the scope of this
 14   lawsuit, once she conducts a site inspection. However, please be on notice that
 15   the plaintiff seeks to have all barriers related to her disability remedied. See
 16   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 17   encounters one barrier at a site, she can sue to have all barriers that relate to
 18   her disability removed regardless of whether she personally encountered
 19   them).
 20
 21   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 22   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 23   Defendants.) (42 U.S.C. section 12101, et seq.)
 24     21. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 25   again herein, the allegations contained in all prior paragraphs of this
 26   complaint.
 27     22. Under the ADA, it is an act of discrimination to fail to ensure that the
 28   privileges, advantages, accommodations, facilities, goods and services of any


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  1   place of public accommodation is offered on a full and equal basis by anyone
  2   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
  3   § 12182(a). Discrimination is defined, inter alia, as follows:
  4            a. A failure to make reasonable modifications in policies, practices,
  5                or procedures, when such modifications are necessary to afford
  6                goods,    services,    facilities,   privileges,    advantages,   or
  7                accommodations to individuals with disabilities, unless the
  8                accommodation would work a fundamental alteration of those
  9                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 10            b. A failure to remove architectural barriers where such removal is
 11                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 12                defined by reference to the ADA Standards.
 13            c. A failure to make alterations in such a manner that, to the
 14                maximum extent feasible, the altered portions of the facility are
 15                readily accessible to and usable by individuals with disabilities,
 16                including individuals who use wheelchairs or to ensure that, to the
 17                maximum extent feasible, the path of travel to the altered area and
 18                the bathrooms, telephones, and drinking fountains serving the
 19                altered area, are readily accessible to and usable by individuals
 20                with disabilities. 42 U.S.C. § 12183(a)(2).
 21     23. When a business provides paths of travel, it must provide accessible
 22   paths of travel.
 23     24. Here, accessible paths of travel have not been provided in conformance
 24   with the ADA Standards.
 25     25. When a business provides parking for its customers, it must provide
 26   accessible parking.
 27     26. Here, accessible parking has not been provided in conformance with the
 28   ADA Standards.


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  1     27. The Safe Harbor provisions of the 2010 Standards are not applicable
  2   here because the conditions challenged in this lawsuit do not comply with the
  3   1991 Standards.
  4     28. A public accommodation must maintain in operable working condition
  5   those features of its facilities and equipment that are required to be readily
  6   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
  7     29. Here, the failure to ensure that the accessible facilities were available
  8   and ready to be used by the plaintiff is a violation of the law.
  9
 10   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 11   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 12   Code § 51-53.)
 13     30. Plaintiff repleads and incorporates by reference, as if fully set forth
 14   again herein, the allegations contained in all prior paragraphs of this
 15   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 16   that persons with disabilities are entitled to full and equal accommodations,
 17   advantages, facilities, privileges, or services in all business establishment of
 18   every kind whatsoever within the jurisdiction of the State of California. Cal.
 19   Civ. Code §51(b).
 20     31. The Unruh Act provides that a violation of the ADA is a violation of the
 21   Unruh Act. Cal. Civ. Code, § 51(f).
 22     32. Defendants’ acts and omissions, as herein alleged, have violated the
 23   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 24   rights to full and equal use of the accommodations, advantages, facilities,
 25   privileges, or services offered.
 26     33. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 27   discomfort or embarrassment for the plaintiff, the defendants are also each
 28   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-


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  1   (c).)
  2
  3             PRAYER:
  4             Wherefore, Plaintiff prays that this Court award damages and provide
  5   relief as follows:
  6           1. For injunctive relief, compelling Defendants to comply with the
  7   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
  8   plaintiff is not invoking section 55 of the California Civil Code and is not
  9   seeking injunctive relief under the Disabled Persons Act at all.
 10           2. Damages under the Unruh Civil Rights Act, which provides for actual
 11   damages and a statutory minimum of $4,000 for each offense.
 12           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 13   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 14
 15   Dated: June 2, 2020                  CENTER FOR DISABILITY ACCESS
 16
 17                                        By:
 18
 19                                        ________________________

 20                                               Russell Handy, Esq.
                                                  Attorney for plaintiff
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